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     • AO 245B &$6'  5HY   Judgment in a Criminal Case
                Sheet 1



                                              UNITED STATES DISTRICT COURT
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                        AMENDED JUDGMENT IN A CRIMINAL CASE
                                         v.                                          (For Offenses Committed On or After November 1, 1987)

                              Gabriel Daggett -1                                     Case Number: 15-cr-02101-JAH-1
                                                                                     Marc Xavier Carlos
                                                                                     Defendant’s Attorney
     REGISTRATION NO. 50671298
          Correction of Sentence for Clerical Mistake (Fed. R. Crim. P.36)
     THE DEFENDANT:
         pleaded guilty to count(s) One of the Indictment.

          was found guilty on count(s)
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                              Count
    Title & Section                       Nature of Offense                                                                                 Number(s)
21:841(a)(1),841(b)(1)(B)              Conspiracy to Attempt to Distribute Methamphetamine                                                  1
(viii),846; 21:853




        The defendant is sentenced as provided in pages 2 through                4          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
     The defendant has been found not guilty on count(s)
     Count(s)
                remaining                                                             is        are         dismissed on the motion of the United States.
     Assessment: $100.00.




     No fine                                             Forfeiture pursuant to order filed                                     , included herein.
       IT IS ORDERED that the defendant shall notify the United States $ttorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States $ttorney of any material change in the defendant's economic circumstances.
                                                                               June 6, 2016
                                                                               Date of Imposition of Sentence
                                                                              



                                                                              HON. JOHN A. HOUSTON
                                                                              UNITED STATES DISTRICT JUDGE


                                                                                                                                           15-cr-02101-JAH-1
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AO 245B &$6'  5HY4/14   Judgment in a Criminal Case
           Sheet 2 — Imprisonment

                                                                                                  Judgment — Page   2   of     4
 DEFENDANT: Gabriel Daggett -1
 CASE NUMBER: 15-cr-02101-JAH-1
                                                             IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         Eighty-five months.



         Sentence imposed pursXant to Title 8 USC Section 1326(b).
        The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends the Residential Drug Abuse Program and that custody be served in the Western Region.




        The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:
               at                                     a.m.       p.m.      on                                       .
               as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               EHIRUH
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Office.


                                                                 RETURN

 I have executed this judgment as follows:

        Defendant delivered on                                                      to

 at                                                 , with a certified copy of this judgment.


                                                                                                UNITED STATES MARSHAL

                                                                        By
                                                                                           DEPUTY UNITED STATES MARSHAL




                                                                                                                    15-cr-02101-JAH-1
               Case 3:15-cr-02101-JAH Document 69 Filed 10/16/20 PageID.245 Page 3 of 4
AO 245% &$6'  Rev. 4/14) Judgment in a Criminal Case
           Sheet 3 — Supervised Release
                                                                                                                Judgment—Page        3     of        4
DEFENDANT: Gabriel Daggett -1
CASE NUMBER: 15-cr-02101-JAH-1
                                                          SUPERVISED RELEASE
Up on release fro m imp risonm ent, the defendant shall b e on su pervised release for a term of :
Five years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the B ureau of P risons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. T he de fendant shall sub mit to one drug test within 15 d ays of release fro m imp risonm ent and at least two perio dic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless o therwise ordered by court.

G      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future sub stance abuse. (Check, if ap plicab le.)

G        defendant shall not posse ss a firearm , amm unition, d estructive dev ice, or a ny other dangerous weapon .
       The
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
G       BackORJ Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
G      
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)

G      The defendant shall pa rticipate in an ap proved program for do mestic violence. (Check, if applica ble.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgm ent.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also com ply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officerLQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUWRUSUREDWLRQRIILFHU
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defenda nt shall support his or her d epend ents and me et other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten d ays prio r to any change in resid ence or em ploym ent;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with an y perso ns engaged in criminal activity and shall not asso ciate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
11)     the defendant shall notify the probation officer within seventy-two ho urs of being arrested or qu estione d by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enfo rcem ent agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant’s compliance with such notification req uirement.

                                                                                                                                    15-cr-02101-JAH-1
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    3 — Continued 2 — Supervised Release

    Defendant: DAGGETT, Gabriel


     CASE NUMBER: 15-cr-02101-JAH-1

                                        SPECIAL CONDITIONS OF SUPERVISION


1. Participate in a program of drug or alcohol abuse treatment, including drug testing and counseling, as directed by the probation
officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
contribute to the costs of services rendered in an amount to be determined by the probation officer, based on ability to pay.

2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

3. Submit your person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a
reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition
of release; failure to submit to a search may be grounds for revocation; the defendant shall warn any other residents that the premises
may be subject to searches pursuant to this condition.

4. Shall not associate with any known member, prospect, or associate of the Vista Home Boys, or any other known gang, or club with
a history of criminal activity, unless given permission by the probation officer.


5. Shall not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials associated with a known gang,
unless given permission by the probation officer.


6. Shall not loiter, or be present in locations known to be areas where gang members congregate, unless given permission by the
probation officer.
